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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                            )
                                                    )
                v.                                  )
                                                    )       Docket No. 16-CR-40025-TSH
(1)     IVAN CRUZ-RIVERA and                        )
(2)     CARLOS JIMENEZ                              )
                                                    )
                          Defendant.                )
                                                    )


             JOINT MEMORANDUM PURSUANT TO LOCAL RULE 116.5(a)

        The United States of America and the defendants Ivan Cruz-Rivera (“Cruz-Rivera”) and

Carlos Jimenez (“Jimenez”) (together, the “Defendants”) through their respective counsel, hereby

submit this joint memorandum addressing Local Rule 116.5(a).

        As matters are proceeding to the satisfaction of all parties, the government and the

Defendants request that the status conference scheduled for July 22, 2016 be cancelled and

an interim status conference date established in approximately 45 days.

I.      Local Rule 116.5(a)(1)

        On July 8, 2016, the government produced automatic and voluntary, supplemental

discovery as required by Fed. R. Crim. P. 16 and Rules 116.1(c) and 116.2 of the Local Rules of

the United States District Court for the District of Massachusetts. The government anticipates

providing additional discovery in this matter in the coming days, and has notified defense counsel

of its intent to do so.

II.     Local Rule 116.5(a)(2)

        The government will provide discovery in response to any future request(s) according to

the local rules and pursuant to the Federal Criminal Rules of Criminal Procedure, including any
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supplemental discovery if any additional materials are obtained.

III.   Local Rule 116.5(a)(3)

       The Defendants need additional time to review the government=s automatic discovery

before determining whether it will be necessary to file a request for additional materials.

IV.    Local Rule 116.5(a)(4)

       At this time, the parties are not seeking any protective orders to prevent the disclosure or

dissemination of sensitive information concerning victims, witnesses, defendants, or law

enforcement sources or techniques. The parties reserve the right to seek such orders in the future,

should the need arise.

V.     Local Rule 116.5(a)(5)

       The parties agree that it is too early to set a motion schedule under Fed. R. Crim. P. 12(b).

The parties ask that a motion date under Fed. R. Crim. P. 12(c), if necessary, be set at the next

status conference after the defense has had a chance to complete its review of the discovery

materials provided by the government during automatic discovery, as well as the additional

materials the government has subsequently produced.

VI.    Local Rule 116.5(a)(6)

       The parties propose that expert disclosures for the government, if any, be due 45 days

before trial and that the Defendants’ expert disclosures, if any, be due 21 days before trial.

VII.   Local Rule 116.5(a)(7)

       The government and the Defendants agree that the period from the Defendants’ initial

appearance and arraignment upon the indictment on June 10, 2016 through July 22, 2016, the date

set for the initial status conference, was properly excluded by this Court’s order on excludable

delay. [D.33]. The government and the Defendants further agree that the time period between
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July 22, 2016, and the next status conference should be excluded because the parties have been and

are using the period of the continuance to complete production and review of discovery.

Therefore, the parties request that this Court find that the ends of justice served by excluding the

period of this continuance outweigh the best interest of the public and the defendant in a speedy

trial, pursuant to 18 U.S.C. ' 3161(h)(7)(A).

VIII. Local Rule 116.5(a)(8)

       The government and the Defendants request that an interim status conference date be

established approximately 45 days in the future. The Defendants do not yet know whether they

will be ready to advise the Court on the next scheduled status date as to whether they will be filing

any motions, and if so, which motions they are planning on filing. They are respectfully reserving

their right to ask for a further status conference after the next for that purpose, if needed.


Respectfully submitted,

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                                CERTIFICATE OF SERVICE


        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                              /s/ Michelle L. Dineen Jerrett
                                              Michelle L. Dineen Jerrett
                                              Assistant U.S. Attorney
Date: July 21, 2016
